
17 So.3d 343 (2009)
C.R.J., A Child, Appellant,
v.
STATE of Florida, Appellee.
No. 5D09-968.
District Court of Appeal of Florida, Fifth District.
September 11, 2009.
James S. Purdy, Public Defender, and Brynn Newton, Assistant Public Defender, Daytona Beach, for Appellant.
No Appearance for Appellee.
PER CURIAM.
C.R.J. appeals a restitution order requiring him to pay $1,378.00 for damage he caused to the victim's automobile. Because the State only presented hearsay evidence to prove the projected repair cost, and the Appellant preserved the issue with appropriate objections, we reverse for a new restitution hearing. See T.J.N. v. State, 977 So.2d 770 (Fla. 2d DCA 2008).[1]
REVERSED.
LAWSON, EVANDER and COHEN, JJ., concur.
NOTES
[1]  As in T.J.N., the State attempted to prove the restitution amount with written repair estimates, and did not establish any hearsay exception that would allow admission of the documents over Appellant's objections. We note, however, that there does not appear to be a serious dispute regarding the cost of repair, which causes us to question the wisdom of litigating an issue that the parties should have been able to resolve amicably. Given that the trial judge originally set a restitution amount lower than the estimated repair cost, Appellant may well face a larger restitution payment in the end.

